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 9                       IN THE UNITED STATES DISTRICT COURT FOR THE
10                                EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                      )   1:09-cr-00272-OWW
                                                    )
13                         Plaintiff,               )   ORDER CONTINUING SECOND STATUS
                                                    )   CONFERENCE
14                                                  )
                                    v.              )
15                                                  )
     FABIO CAZARES-ZAMORA, et. al.,                 )
16                                                  )
                           Defendants.              )
17                                                  )
                                                    )
18
            The United States of America, by and through BENJAMIN B. WAGNER, United States
19
     Attorney, and MARLON COBAR and KATHLEEN A. SERVATIUS, Assistant United States
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     Attorneys, and the defendants, by and through their respective attorneys, have stipulated to a
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     continuance of the status conference in this case, currently set for November 23, 2009 to January 19,
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     2010 at 9:00 a.m. The government and the defendants have jointly requested the continuance based
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     on five key reasons, as outlined in the Stipulation to Continue Second Status Conference, filed by the
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     government.
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            THEREFORE, it appearing that the request is supported by good cause, in that the ends of
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     justice served by a continuance “outweigh the best interests of the public and the defendants in a
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     speedy trial.” See 18 U.S.C. § 3161(h)(8).
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 1          IT IS HEREBY ORDERED that the status conference in this case be continued until January
 2   19, 2010 at 9:00 a.m.
 3          IT IS HEREBY ORDERED that the time between November 23, 2009 to January 19, 2010 at
 4   9:00 a.m. be excluded pursuant to 18 United States Code, Section 3161(h).
 5   IT IS SO ORDERED.
 6   Dated: November 17, 2009                        /s/ Oliver W. Wanger
     emm0d6                                     UNITED STATES DISTRICT JUDGE
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